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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. MJ 07-227
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   HAI VAN NGUYEN,                      )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Marijuana; Manufacture of Marijuana

15 Date of Detention Hearing:     Initial Appearance May 4, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant is charged by Complaint with involvement in what is described as a

22 large-scale marijuana cultivation operation in Enumclaw, Washington. The complaint alleges that

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 the defendant stated at the time of his arrest that he was hired and transported to the United States

02 from Canada.

03           2.      The defendant was not interviewed by Pretrial Services. There is no information

04 available regarding his personal history, residence, family ties, ties to this District, income, financial

05 assets or liabilities, physical/mental health or controlled substance use if any.

06           3.      Defendant does not contest detention.

07           4.      Defendant poses a risk of nonappearance because of unknown background

08 information and lack to ties to this District. He poses a risk of danger due to the nature of the

09 charges.

10           5.      There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

12 to other persons or the community.

13 It is therefore ORDERED:

14           (1)     Defendant shall be detained pending trial and committed to the custody of the

15                   Attorney General for confinement in a correction facility separate, to the extent

16                   practicable, from persons awaiting or serving sentences or being held in custody

17                   pending appeal;

18           (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                   counsel;

20           (3)     On order of a court of the United States or on request of an attorney for the

21                   Government, the person in charge of the corrections facility in which defendant is

22                   confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                                 15.13
     18 U.S.C. § 3142(i)                                                                          Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 4th day of May, 2007.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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